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                        Exhibit A
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                                         Attention:
You may file Forms W-2 and W-3 electronically on the SSA’s Employer
W-2 Filing Instructions and Information web page, which is also accessible
at www.socialsecurity.gov/employer. You can create fill-in versions of
Forms W-2 and W-3 for filing with SSA. You may also print out copies for
filing with state or local governments, distribution to your employees, and
for your records.
Note: Copy A of this form is provided for informational purposes only. Copy A appears in
red, similar to the official IRS form. The official printed version of this IRS form is scannable,
but the online version of it, printed from this website, is not. Do not print and file Copy A
downloaded from this website with the SSA; a penalty may be imposed for filing forms that
can’t be scanned. See the penalties section in the current General Instructions for Forms
W-2 and W-3, available at www.irs.gov/w2, for more information.
Please note that Copy B and other copies of this form, which appear in black, may be
downloaded, filled in, and printed and used to satisfy the requirement to provide the
information to the recipient.
To order official IRS information returns such as Forms W-2 and W-3, which include a
scannable Copy A for filing, go to IRS’ Online Ordering for Information Returns and
Employer Returns page, or visit www.irs.gov/orderforms and click on Employer and
Information returns. We’ll mail you the scannable forms and any other products you order.
See IRS Publications 1141, 1167, and 1179 for more information about printing these tax
forms.
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